     Case 4:22-cv-00691-O Document 84 Filed 09/26/22                 Page 1 of 3 PageID 1133



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

    JENNIFER VANDERSTOK; MICHAEL                   §
    G. ANDREN; TACTICAL MACHINING                  §
    LLC, a limited liability company;              §
    FIREARMS POLICY COALITION,                     §
    INC., a nonprofit corporation,                 §
                                                   §
          Plaintiffs,                              §
                                                   §
    v.                                             §   Civil Action No. 4:22-cv-00691-O
                                                   §
    MERRICK GARLAND, in his Official               §
    capacity as Attorney General of the            §
    United States; UNITED STATES                   §
    DEPARTMENT OF JUSTICE; STEVEN                  §
    DETTELBACH, in his official capacity as        §
    Director of the Bureau of Alcohol,             §
    Tobacco, Firearms and Explosives;              §
    BUREAU OF ALCOHOL, TOBACCO,                    §
    FIREARMS, AND EXPLOSIVES,                      §
                                                   §
          Defendants.                              §

                                              ORDER

         Before the Court are Defendants’ Motion for Clarification of the Scope of the Court’s

Preliminary Injunction with Respect to Tactical Machining’s Pending Classification Request

(Defs.’ Mot., ECF No. 71), filed September 15, 2022; Plaintiffs’ Opposition to Defendants’ Motion

for Clarification (Pls.’ Resp., ECF No. 75), filed September 22, 2022; and Defendants’ Reply in

Support of their Motion for Clarification (Defs.’ Reply, ECF No. 78), filed September 24, 2022.

Defendants seek clarification about whether the Preliminary Injunction 1 prohibits ATF from

completing the Plaintiff’s pending product classification request with the understanding that, result



1
  Defendants are presently enjoined from “implementing and enforcing against Tactical Machining, LLC
the provisions in 27 C.F.R. §§ 478.11 and 478.12 that this Order has determined are unlawful” (Opinion
& Order on Prelim. Inj., ECF No. 56 at 23).
    Case 4:22-cv-00691-O Document 84 Filed 09/26/22                  Page 2 of 3 PageID 1134



aside, ATF will not take any adverse action against Tactical (Defs.’ Mot. at 2). 2 Indeed, Defendants

assert that “classification of the Product as either a ‘firearm’ or not a ‘firearm’ cannot constitute

action by the government ‘against’ Tactical Machining in violation of the Preliminary Injunction”

(Defs.’ Reply at 2) (emphasis added). 3 If it “determines that the product is not a firearm,” ATF

claims “the Parties’ dispute will be narrowed or eliminated,” along with the alleged harm that

Tactical Machining faces as a result of the Rule (Defs.’ Mot. at 2). Defendants suggest that

Plaintiffs might support completion of the product classification, since they have yet to revoke

their still-pending request. See id. Defendants indicate ATF can conclude the classification “within

two business days” of receiving the Court’s clarification should it be permitted to do so under the

injunction and ask the Court to delay its ruling on the scope of the injunction until after the

classification determination is made (Defs.’ Supp. Br., ECF No. 73).

       Plaintiffs oppose the motion and argue that permitting ATF to apply its likely unlawfully

regulations to Tactical’s product in completing the classification request violates the injunction

and would “be the death knell of [Tactical’s] business” should the result be an unfavorable one

(Pls.’ Resp. 1–3). They claim additional injury would result because Tactical’s already risk-averse

customers and vendors would have a definitive basis for refusing to purchase the now clearly-

classified product from them. See id. 4 Moreover, Plaintiffs argue not one of their claims—excess

of statutory authority (Count I); APA procedural violations (Count II); arbitrary and capricious

conduct (Count III); nor constitutional challenges (Counts IV–VI)—“would be mooted or

appreciably ‘narrowed’” should ATF provide even a favorable classification result. Id. at 4.


2
  On April 12, 2022, Tactical Machining, LLC submitted to ATF a product reclassification request for
guidance about whether its partially machined AR-15 pattern receiver was considered a “firearm” under
the Rule (ECF No. 16-1, Exs. 1–2).
3
  Id. at 3 n.3 (“[T]he Court did not enjoin ATF from providing classification decisions”).
4
  The “assurance [provided by a single product classification] is too narrow and leaves too many
questions unanswered to meaningfully mitigate Plaintiffs’ harm.” Id. at 5.


                                                   2
  Case 4:22-cv-00691-O Document 84 Filed 09/26/22                Page 3 of 3 PageID 1135



       Allowing ATF to apply its Rule while completing the classification of Tactical’s primary

product offering constitutes “implement[ation]” of 27 C.F.R. § 478.11 and 478.12(c), which this

Court has said are likely unlawful. And, despite Defendants’ arguments to the contrary, issuing

such an agency determination that—but for the injunction—would place Tactical at risk of an

enforcement action, qualifies as agency action taken “against” Tactical in contravention of the

current injunction. This aside, the Court considered permitting ATF to complete its classification

request should the parties agree that it would afford some relief or narrow the dispute, as

Defendants originally intimated (Defs.’ Mot. at 2). Because the parties contest the utility of a

completed classification request, the Court DENIES Defendants’ Motion and CLARIFIES that

the current injunction precludes Defendants from concluding its classification determination with

respect to Tactical’s product.

       SO ORDERED this 26th day of September, 2022.




                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE




                                                3
